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      UNITED STATES DISTRICT COURT
      NORTHERN DISTRICT OF NEW YORK


      YARON KWELLER,

                        Plaintiff,                          NOTICE OF
                                                         MOTION TO DISMISS
             vs.
                                                            Civil Action No.:
      BROOME COUNTY, et al.,                             3:24-cv-01328-ECC-ML

                        Defendants.




         MOTION BY:                     Defendants Michael A. Korchak and Mark Loughran

         DATE, TIME AND
         PLACE OF HEARING:              On the __________ day of _______________, 2025
                                        at ________ a.m./p.m. before the Honorable
                                        Elizabeth C. Coombe, U.S.D.J. at the U.S. District
                                        Courthouse for the Northern District of New York,
                                        100 S. Clinton Street, Syracuse, New York.


         SUPPORTING PAPERS:             Memorandum of Law dated February 3, 2025


         RELIEF DEMANDED
         AND GROUNDS:                   Dismissal pursuant to Rule 12(b)(6) of the Federal
                                        Rules of Civil Procedure because the Complaint fails
                                        to state a claim for relief against the moving
                                        Defendants; the moving Defendants also seek such
                                        other, further and different relief as the Court deems
                                        just and proper.


         REPLY:                         Pursuant to Rule 7.1(a)(1) of the Local Rules of
                                        Practice for the U.S. District Court for the Northern
                                        District of New York, papers submitted in opposition
                                        to the within motion must be filed with the Clerk and
                                        served upon counsel for these moving defendants no
                                        more that twenty-one days after service of the
                                        motion, exclusive of that day. Upon receipt of
                                        opposition papers, the moving parties intend to file
                                        and serve reply papers in accordance with Rule 7.1.


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DATED: February 3, 2025              BARCLAY DAMON LLP

                                     By:    s/ Erin M. Tyreman___________
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 3, 2025, I filed the foregoing Notice of Motion to

Dismiss of Michael A. Korchak and Mark Loughran with the CM/ECF system which sent

notification of such filing to the following:


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